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                                                                                U.S. DISTRICT COURT
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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ALABAMA

JOHN MILLER,                             )
                                         )
          Plaintiff,                     )
                                         )
          v.                             )
                                         )
KIM THOMAS; JEFFERSON DUNN;              )
GRANTT CULLIVER; TERRANCE G.             )
MCDONNELL; GREG LOVELACE;                )
CARTER DAVENPORT; DEWAYNE                )
ESTES; KAREN CARTER; ERIC                )
EVANS; CARL SANDERS; GARY                )   Case No. 4:17-cv-00180
MALONE; KENNETH PETERS;                  )
ANGELIA GORDY; LT. WILLIAM               )   Judge Madeline H. Haikala
NORTHCUTT; UNKNOWN SHIFT                 )
COMMANDERS; NEKETRIS                     )   Chief Magistrate Judge John E. Ott
ESTELLE; UNKNOWN HEAD OF                 )
INMATE CONTROL SYSTEMS;                  )
TANYA AVERY; PHILLIP COX;                )
BRITTANY STALLWORTH;                     )
UNKNOWN INMATE CONTROL                   )
SYSTEMS STAFF; JONATHAN                  )
TRUITT; CORRECTIONAL OFFICER             )
HALE; CORRECTIONAL OFFICER               )
INGRAM; BRIAN FIFE; UNKNOWN              )
INVESTIGATORS; ED SASSER;                )
ARNALDO MERCADO; ERIC                    )
BASCOMB; UNKNOWN I&I                     )
SUPERVISORS; and STATE OF                )   JURY TRIAL DEMANDED
ALABAMA,                                 )
                                         )
          Defendants.                    )

                        FIRST AMENDED COMPLAINT

      Plaintiff John Miller, by his attorneys, Loevy & Loevy and Henry F. Sherrod

III, files this First Amended Complaint against Defendants Kim Thomas, Jefferson

Dunn, Grantt Culliver, Terrance G. McDonnell, Greg Lovelace, Carter Davenport,
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Dewayne Estes, Karen Carter, Eric Evans, Carl Sanders, Gary Malone, Kenneth

Peters, Angelia Gordy, Lt. William Northcutt, Unknown Shift Commanders,

Neketris Estelle, Unknown Head of Inmate Control Systems, Tanya Avery, Phillip

Cox, Brittany Stallworth, Unknown Inmate Control Systems Staff, Jonathan Truitt,

Correctional Officer Hale, Correctional Officer Ingram, Brian Fife, Unknown

Investigators, Ed Sasser, Arnaldo Mercado, Eric Bascomb, Unknown I&I

Supervisors, and State of Alabama; and states as follows:

                                   INTRODUCTION

       1.     Plaintiff John Miller was brutally raped while imprisoned for theft at

St. Clair Correctional Facility (“St. Clair”).

       2.     The rape came as no surprise. Defendants had refused Mr. Miller’s

repeated pleas to be moved from his assigned bed, which was located in a “blind

spot” out of view of staff or surveillance devices in a dangerous, overcrowded, and

understaffed dormitory. Moreover, just two months earlier, Mr. Miller’s assailant

had tried to rape another prisoner at knifepoint. Defendants not only failed to

discipline the assailant, but they also continued to house him in a poorly supervised

dormitory alongside Mr. Miller.

       3.     Nor was Mr. Miller’s rape an aberration. Violence had spiraled out of

control at St. Clair, where murders, rapes, stabbings, and beatings were routine and

much of the prisoner population possessed contraband weapons.

       4.     The dangerous conditions that led to Plaintiff’s rape were well known

to Defendants. In fact, four months earlier, the Equal Justice Initiative of Alabama




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had filed a 42-page class action detailing the endemic violence overtaking St. Clair

and the poor leadership, mismanagement, and inadequate policies and procedures

responsible for its rise. See Exh. A, Complaint, Cheatham, et al. v. Thomas, et al.,

No. 4:14-cv-1952 (N. Dist. Ala.) (Dkt. No. 1) (hereinafter, “Cheatham Complaint”).

      5.      Defendants responded with unqualified indifference to the Cheatham

litigation, the growing security crisis, and Plaintiff’s repeated pleas for a safe bed

assignment. Some Defendants even fanned the flames of violence at St. Clair by

encouraging assaults and arming prisoners.

      6.      The result was both tragic and predictable: Mr. Miller lay defenseless

in his bed, out of view of any staff that might have been able to stop the assault,

while his assailant raped him anally at knifepoint.

      7.      In the aftermath of the rape, Defendants maintained their indifference

to Mr. Miller. Rather than providing him with proper health care and emotional

support, Defendants placed Plaintiff in an isolation cell in segregation, in close

proximity to his rapist. Defendants then allowed the rapist and his associates to

threaten Mr. Miller for months on end for refusing to withdraw his rape complaint.

Again, Mr. Miller’s pleas to Defendants for a safe housing assignment went

unanswered.

      8.      In the end, Defendants did not even inform Mr. Miller of the outcome

of the rape investigation, let alone discipline his assailant.




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       9.     Mr. Miller brings this action to redress his devastating injuries and

with hope that highlighting Defendants’ gross misconduct will help improve the

safety of those prisoners who remain at St. Clair.

                           JURISDICTION AND VENUE

       10.    This action is brought pursuant to 42 U.S.C. § 1983 to redress the

Defendants’ deprivation of Plaintiff’s rights secured by the U.S. Constitution.

       11.    This Court has jurisdiction of Plaintiff’s federal claims pursuant to 28

U.S.C. § 1331 and supplemental jurisdiction of his state law claims pursuant to 28

U.S.C. § 1367.

       12.    Venue is proper under 28 U.S.C. § 1391(b), as the majority of the

Defendants reside in this judicial district and the events and omissions giving rise

to Plaintiff’s claims occurred within this judicial district.

                                       PARTIES

       13.    Plaintiff John Miller is a 41-year-old resident of Morgan County,

Alabama, who was serving time for theft of property at the time he was raped at St.

Clair. Mr. Miller had been transferred to St. Clair to participate in the Therapeutic

Community program, designed to teach prisoners life skills to help them overcome

addiction and related challenges.

       14.    Defendants Kim Thomas and Jefferson Dunn are, respectively, the

former and current Commissioners of the Alabama Department of Corrections

(“ADOC”). The Commissioner is the highest ranking official in the ADOC and is

responsible for the direction, supervision, and control of the Department of




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Corrections. Defendant Dunn undertook the role in January 2015, following

Defendant Thomas’s resignation.

      15.    Defendant Grantt Culliver is the Associate Commissioner for

Operations and Institutional Security for the ADOC, having first undertaken that

role in August 2014 and returning to the position in mid-2015 after a demotion in

early 2015. As Associate Commissioner, Defendant Culliver has been responsible for

ensuring the effective and safe daily operations of prison facilities, including

overseeing institutional security, staffing, the Classification Review Board, the

Training Division, and the Transfer Division.

      16.    In addition, beginning in approximately 2009 and continuing through

approximately July 2015, Defendant Culliver also served as the Institutional

Coordinator for the Northern Region of the ADOC. In that role, Defendant Culliver

was responsible for planning, monitoring, and reviewing the day-to-day operations

of correctional institutions in his assigned area, which included St. Clair. His duties

included supervising the warden of St. Clair, ensuring safe conditions at St. Clair,

and leading the external security audit team.

      17.    At all times relevant to this complaint, Defendant Terrance G.

McDonnell was the Associate Commissioner for Plans and Programs for the ADOC.

As Associate Commissioner, Defendant McDonnell was responsible for matters

including the Central Records Division, Research and Planning Division, and

Victim-Constituent Services.




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      18.    Defendant McDonnell also served in early 2015 as the interim acting

Associate Commissioner of Operations. In that role, Defendant McDonnell was

responsible for ensuring the effective and safe daily operations of prison facilities,

including overseeing institutional security, staffing, the Classification Review

Board, the Training Division, and the Transfer Division.

      19.    At all times relevant to this complaint, Defendant Greg Lovelace was

the Deputy Commissioner for Maintenance for the ADOC. As Deputy

Commissioner, Defendant Lovelace was responsible for the maintenance and

construction of correctional facilities and also had supervisory responsibility over

staffing issues. Defendant Lovelace continues to hold the same position today. In

this role, Defendant Lovelace participated in security improvement plan meetings

for St. Clair with Defendant Culliver, the Warden of St. Clair, and others, and had

ultimate responsibility for executing a security improvement plan at that facility.

      20.    Collectively, Defendants Dunn, Thomas, Culliver, McDonnell, and

Lovelace are referred to as the “Defendant Administrative Supervisors.”

      21.    Defendant Carter Davenport was the Warden of St. Clair from

approximately 2010 to March 1, 2015, at which time Defendant Thomas transferred

him to run a different ADOC prison. As Warden of St. Clair, Defendant Davenport

was responsible for the day-to-day operations of the prison, the safety and security

of all prisoners at the facility, and the supervision of all subordinate employees.

Defendant Davenport’s responsibilities as Warden included ensuring adequate

supervision and monitoring of prisoners, adequate classification of prisoners,




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appropriate housing assignments for prisoners, adequate staffing levels,

appropriate discipline and deterrence of prisoner and staff misconduct, adherence

by staff to the requirements of the Prison Rape Elimination Act (“PREA”),

adherence by staff to search protocols, adequate implementation of internal security

audits, and proper installation, repair, and maintenance of locks, cameras, and

other security devices necessary for safety and security.

      22.    Defendant Dewayne Estes was the Warden of St. Clair beginning on or

about March 1, 2015. As Warden, Defendant Estes was responsible for the day-to-

day operations of the prison, the safety and security of all prisoners at the facility,

and the supervision of all subordinate employees. Defendant Estes’s responsibilities

as Warden included ensuring adequate supervision and monitoring of prisoners,

adequate classification of prisoners, appropriate housing assignments for prisoners,

adequate staffing levels, appropriate discipline and deterrence of prisoner and staff

misconduct, adherence by staff to the requirements of PREA, adherence by staff to

search protocols, adequate implementation of internal security audits, and proper

installation, repair, and maintenance of locks, cameras, and other security devices

necessary for safety and security.

      23.    Defendant Karen Carter was an Assistant Warden at St. Clair from

July 2013 through the time of the events at issue in Plaintiff’s complaint.

Defendant Carter had previously worked at St. Clair as an officer from 1990 to 1998

and as a lieutenant from 2005 to 2010. Defendant Carter’s monitoring and oversight

responsibilities at St. Clair covered administrative duties at the facility, including




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PREA compliance, the Therapeutic Community substance abuse program, the

classification and housing assignment process at St. Clair, and investigations into

inmate-on-inmate assaults. Defendant Carter also reviewed and approved all

disciplinary and incident reports at the facility.

         24.   Defendant Eric Evans was an Assistant Warden at St. Clair

Correctional Facility beginning in January 2014 and continuing through the events

at issue in Plaintiff’s complaint. Defendant Evans’s oversight responsibilities at St.

Clair covered contraband searches; PREA compliance; investigations and/or reviews

into prisoner and employee misconduct; prisoner movement, including to and from

recreation; safety and security during certain shifts; employee rounds conducted in

the segregation units; and supervision of the Segregation Captains.

         25.   Defendant Carl Sanders was a Captain at St. Clair at the time of the

events in Plaintiff’s complaint. As Captain, Defendant Sanders was responsible for

the safety of all prisoners at the Facility and the supervision of all security

activities and subordinate employees. Defendant Sanders, as a Captain of General

Population, was further responsible for authorizing all housing assignments at St.

Clair.

         26.   Defendant Gary Malone was a Captain at St. Clair at the time of the

events in Plaintiff’s complaint. As Captain, Defendant Malone was responsible for

the safety of all prisoners at the Facility and the supervision of all security

activities and subordinate employees. Defendant Malone served as a Segregation

Captain through approximately July 2015, at which time he became a Captain of




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General Population. As a Segregation Captain, Defendant Malone’s duties included

ensuring the safety and security of prisoners in the Segregation Unit. As a Captain

of General Population, his duties included authorizing all housing assignments at

St. Clair.

       27.   Defendant Kenneth Peters was a Captain at St. Clair at the time of the

events at issue in Plaintiff’s Complaint. As Captain, Defendant Peters was

responsible for the safety of all prisoners at the Facility and the supervision of all

security activities and subordinate employees. Defendant Peters also served as the

PREA Compliance Manager of St. Clair at the time of Plaintiff’s rape and

continuing through August 2015, when Angelia Gordy took over that role.

       28.   Defendant Lieutenant Angelia Gordy served from approximately 2010

or 2011 to August 2015 as the Regional PREA Coordinator for four facilities that

included St. Clair. In August 2015, Defendant Gordy became the PREA Compliance

Manager of St. Clair.

       29.   Defendant William Northcutt was a lieutenant at St. Clair at the time

of the events described in Plaintiff’s Complaint.

       30.   Defendants Unknown Shift Commanders were the shift commanders

on duty at St. Clair from December 1, 2014 through the date of the rape of Plaintiff.

The responsibilities of the shift commanders included staffing the housing units

including the H-Dorm where Plaintiff was raped, overseeing subordinates who

supervised the H-Dorm, ensuring that security checks were completed in the H-

Dorm, and investigating and evaluating requests for housing assignment changes.




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      31.    Defendant Neketris Estelle was the Head of Classification at St. Clair

at the time of the events at issue in Plaintiff’s Complaint and first began working in

classification at St. Clair in 2009. As the Head of Classification, Defendant Estelle’s

responsibilities included conducting initial screenings; conducting semi-annual

progress reviews for prisoners, attended by the warden or his designee, to review

their disciplinary histories and other developments; serving on the Institutional

Segregation Review Board along with the Warden and Segregation Captain; serving

on the Sexual Incident Review Team; reclassifying prisoners for segregation if their

disciplinary history warranted a segregation placement; reclassifying prisoners for

general population if they no longer required a segregation placement; notifying

security staff of housing assignment requests; making recommendations that

prisoners be transferred to protective custody; and ensuring safe housing

assignments for prisoners.

      32.    Defendant Unknown Head of Inmate Control Systems was responsible

for housing assignments at St. Clair and for evaluating, investigating, and

approving housing assignment change requests. Upon information and belief, the

Head of Inmate Control Systems at the time of the events at issue in Plaintiff’s

complaint was Beverly Warren.

      33.    Collectively, Defendants Davenport, Estes, Carter, Evans, Sanders,

Malone, Gordy, Peters, Northcutt, Unknown Shift Commanders, Estelle, and

Unknown Head of Inmate Control Systems are referred to as the “Defendant

Facility Supervisors.”




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       34.    Collectively, the Defendant Administrative Supervisors and the

Defendant Facility Supervisors are referred to as the “Defendant Supervisors.”

       35.    The Defendant Supervisors acted in a supervisory capacity over other

St. Clair corrections employees at all times relevant to this Complaint. Further, the

constitutional injuries complained of herein were proximately caused by a pattern

and practice of misconduct at St. Clair, which occurred with the consent of the

Defendant Supervisors, who personally knew about, participated in, facilitated,

approved, and/or condoned this pattern and practice of misconduct, or at least

recklessly caused the alleged deprivation by their actions or by their deliberately

indifferent failure to act.

       36.    Defendants Tanya Avery, Phillip Cox, and Brittany Stallworth were

classification specialists at St. Clair that worked under Defendant Estelle at the

time of the events at issue in Plaintiff’s complaint. As classification specialists,

Defendants Avery, Cox, and Stallworth were responsible for assisting with initial

screenings, conducting semi-annual progress reviews, reclassifying prisoners for

segregation or general population based on their disciplinary history, notifying

security staff of housing assignment requests, making recommendations that

prisoners be transferred to protective custody, and ensuring safe housing

assignments for prisoners.

       37.    Defendants Unknown Inmate Control Systems Staff were responsible

for implementing housing assignments, ensuring safe housing assignments for

prisoners, and investigating and evaluating housing assignment change requests




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including Mr. Miller’s, under the supervision of Defendant Unknown Head of

Inmate Control Systems.

      38.    Collectively, Defendants Estelle, Unknown Head of Inmate Control

Systems, Avery, Cox, and Stallworth, and Unknown Inmate Control Systems Staff

are referred to as the “Defendant Classification and Housing Administrators.”

      39.    Defendant Jonathan Truitt, Defendant Hale, Defendant Ingram, and

Defendant Brian Fife were correctional officers at St. Clair at the time of the events

at issue in Plaintiff’s Complaint. Collectively, these defendants are referred to as

the “Defendant Correctional Officers.”

      40.    Defendant Unknown Investigators are the unknown investigators who

conducted and/or were responsible for investigations of sexual assaults at St. Clair

at the time of the events described in Plaintiff’s Complaint, including, specifically,

the investigation of the sexual assaults of J.H. and Mr. Miller by J.D.

      41.    Defendants Ed Sasser and Arnaldo Mercado were the directors of the

Investigations & Intelligence Division (“I&I”) at the time of the events described in

Plaintiff’s Complaint. Defendants Sasser and Mercado were responsible for

investigations of sexual assaults at St. Clair at the time of the events described in

Plaintiff’s Complaint, including, specifically, the investigation of the sexual assaults

of J.H. and Mr. Miller by J.D.

      42.    Defendant Eric Bascombe was an assistant director of I&I at the time

of the events described in Plaintiff’s Complaint. Defendant Bascombe was

responsible for investigations of sexual assaults at St. Clair at the time of the




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events described in Plaintiff’s Complaint, including, on information and belief, the

investigation of the sexual assaults of J.H. and Mr. Miller by J.D.

      43.    Defendants Unknown I&I Supervisors were acting as supervisors for

I&I at the time of the events described in Plaintiff’s Complaint.

      44.    Collectively, Defendants Unknown Investigators, Sasser, Mercado,

Bascombe, and Unknown I&I Supervisors are referred to as the “Defendant

Investigators.”

      45.    Defendant Unknown Health Care Providers are two health care

providers: one who completed a body chart for Mr. Miller on or about February 4,

2015, and another who ignored Mr. Miller’s request for testing for sexually

transmitted diseases in approximately March 2015 when seeing him in connection

with a different blood test. On information and belief, Defendants Unknown Health

Care Providers may have been employed by an outside medical care vendor, such as

Corizon Correctional Healthcare.

      46.    Collectively, all of the individual Defendants are referred to as the

“Individual Defendants.”

      47.    Plaintiff sues each of the Individual Defendants in his or her

individual capacity unless otherwise noted. Each of the Individual Defendants acted

under color of law and within the scope of his or her employment when engaging in

the misconduct described herein.

      48.    Defendant State of Alabama is a state of the United States and is sued

only in its capacity as an indemnitor.




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      DEFENDANTS’ FAILURE TO PROTECT MR. MILLER FROM A
    KNOWN AND SUBSTANTIAL THREAT OF PHYSICAL AND SEXUAL
                         VIOLENCE

                             J.D.’s Attempted Rape of J.H.

       49.      J.D. – the prisoner who raped Plaintiff – had previously attempted to

rape at least one other prisoner.

       50.      Even before the rape attempt, Defendant Facility Supervisors

including Defendant Northcutt knew that J.D. had a serious history of misconduct

at St. Clair.

       51.      On information and belief, the Defendant Facility Supervisors also

knew that J.D. had a gang affiliation.

       52.      In December 2014, J.D. attempted to sexually assault prisoner J.H. at

knifepoint.

       53.      J.H. reported the assault to Defendant Gordy and gave a written

statement describing the attack.

       54.      In his written statement, J.H. reported that J.D. had threatened to

assault other prisoners at St. Clair as well.

       55.      Upon information and belief, the statement was received by a

Defendant Unknown Investigator.

       56.      Upon information and belief, an incident report, duty officer report,

and/or PREA report was completed regarding the incident and sent to Defendants

Davenport, Carter, Evans, Peters, Estelle, Sanders, Gordy, and other Defendant

Facility Supervisors for review.




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        57.   Upon information and belief, the Defendant Investigators and the

Defendant Facility Supervisors did not meaningfully investigate J.H.’s sexual

assault claim.

        58.   In fact, J.H. never received any information about the results of any

I&I investigation into the assault.

        59.   Nor did the Defendant Investigators and the Defendant Facility

Supervisors discipline J.D. for attempting to assault J.H.

        60.   Nor did the Defendant Investigators and Defendant Facility

Supervisors take any steps to ensure that J.D. would not harm other prisoners.

        61.   Instead, these Defendants and the Defendant Classification and

Housing Administrators continued to house J.D. in general population in the H-

Dorm at St. Clair without adequate supervision.

        62.   The H-Dorm was an overcrowded dormitory-style housing unit that

held approximately 250 prisoners at any given time, despite a much lower capacity.

        63.   The H-Dorm housed both prisoners who were enrolled in the

Therapeutic Community program and others who were not.

        64.   The H-Dorm housed prisoners convicted of the most serious crimes

under Alabama law, such as rape and murder, and prisoners such as Mr. Miller,

who were incarcerated for more minor offenses.

        65.   The H-Dorm was poorly monitored by staff members.

        66.   Physical assaults and robberies were common occurrences in the H-

Dorm.




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      67.    Drug use was pervasive in the H-Dorm.

      68.    Weapons such as knives were commonplace in the H-Dorm, as they

were at St. Clair as a whole.

      69.    In fact, St. Clair was widely known to be an armed facility, in that

large numbers of prisoners possessed contraband weapons.

      70.    Prisoners believed they needed to arm themselves at St. Clair because

of endemic violence at the facility.

                                J.D.’s Rape of Mr. Miller

      71.    The ADOC transferred Mr. Miller to St. Clair in March 2014 to

complete the Therapeutic Community substance abuse program.

      72.    The Defendant Facility Supervisors and Defendant Classification and

Housing Administrators chose to house Mr. Miller in the H-Dorm alongside J.D.

without adequate supervision.

      73.    At the time, Mr. Miller weighed about 145 pounds and was serving

time for a non-violent theft conviction. He was also a racial minority in the prison

and lacked a gang affiliation.

      74.    In the timeframe of Mr. Miller’s assault, there were typically only two

guards tasked with providing security for the entire H-Dorm and all of its 250 or so

prisoners.

      75.    On information and belief, those guards were supposed to be “rovers,”

meaning that they were to spend their shifts walking throughout the H-Dorm to

ensure the safety of the prisoners therein.




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        76.   Defendants including Hale and Ingram regularly failed to comply with

that requirement, and the Defendant Facility Supervisors, including Defendants

Peters, Evans, and the Unknown Shift Commanders, failed to enforce it.

        77.   Instead, the guards typically sat at a desk near the T.V. area, at times

sleeping or watching movies.

        78.   Some beds in the H-Dorm were visible from the guards’ desk. Others,

like Mr. Miller’s bed at the time of the rape, were located in “blind spots” that

security staff could not see unless they physically walked over to those areas.

        79.   No mirrors or video cameras were employed to display what occurred

in those blind spots.

        80.   Prior to his rape, Mr. Miller asked Defendants Hale and Ingram

repeatedly to move him to a safer location within view of the guard desk, but they

refused his requests.

        81.   On or about February 1, 2015, J.D. came to Mr. Miller’s bed in the H-

Dorm and raped him.

        82.   J.D. placed a knife to Mr. Miller’s throat, forced Mr. Miller to lay on

the bed, and raped him anally with his knife still pressed against Mr. Miller’s

throat.

        83.   Upon information and belief, when Mr. Miller was attacked, the two

guards assigned to provide security for the H-Dorm were not “roving” around the H-

Dorm.




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       84.   Nor had the Defendant Shift Supervisors patrolled the H-Dorm,

conducted the required security checks, or ensured that their subordinate

Defendant Correctional Officers would properly “rove” around the H-Dorm as they

were supposed to.

       85.   Instead, Defendant Truitt and the unknown Defendant Correctional

Officer assigned to monitor the H-Dorm were in the television area watching T.V.,

leaving many areas of the dorm unsafe – particularly, the “blind spots” that could

not be seen from the guards’ location.

       86.   None of the Defendants tasked with monitoring the H-Dorm

intervened to stop the rape.

       87.   The rape caused Mr. Miller to suffer traumatic physical and emotional

injuries.

                           The Aftermath of the Rape

       88.   After the rape, Mr. Miller called the PREA hotline repeatedly,

reporting the rape and asking for medical attention.

       89.   For two full days, he received no response.

       90.   During that time, Mr. Miller remained housed in H-Dorm alongside his

assailant, J.D.

       91.   On or about February 4, 2015, Mr. Miller finally received a response

and reported the rape to Defendant Gordy and a Defendant Investigator.

       92.   Defendant Gordy and the Defendant Investigator recovered bloody

clothing worn by Mr. Miller during the rape.




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      93.      Upon information and belief, Defendant Peters recovered a knife from

J.D. that matched the description Mr. Miller had given.

      94.      Notwithstanding the credible evidence corroborating the rape and

Defendants’ knowledge of J.D.’s history, Mr. Miller was never taken to an outside

hospital or rape crisis center.

      95.      The Defendant Facility Supervisors, including Defendants Gordy, and

the Defendant Investigators did not ensure that Mr. Miller received a proper

forensic examination, medical care for his painful injuries, or testing for sexually-

transmitted infections.

      96.      Nor did the Defendant Facility Supervisors refer Mr. Miller for mental

health care.

      97.      Instead, Mr. Miller was taken to a female Defendant Unknown Health

Care Provider who did not even ask Mr. Miller to remove his pants at any time

during their brief interaction. This Defendant failed to assess whether Mr. Miller

had any rectal abrasions or tears, provide Mr. Miller with any medical care for his

rectal bleeding, test Mr. Miller for sexually-transmitted diseases, conduct any

forensic evidence-gathering, or refer Mr. Miller to another health care provider for

such medically necessary services. Despite knowing that Mr. Miller had just been

raped, she merely prepared a cursory “body chart” and concluded the visit.

      98.      In approximately March 2015, Mr. Miller requested testing for

sexually transmitted infections from another Defendant Unknown Health Care

Provider who was seeing Mr. Miller for unrelated blood work. Despite awareness of




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Mr. Miller’s serious medical need, this Defendant took no steps to ensure that Mr.

Miller received the required testing.

          99.    Rather than transferring Mr. Miller to protective custody, the

Defendant Facility Supervisors placed Mr. Miller in an isolation cell in

administrative segregation.

          100.   In segregation, Mr. Miller received no programming, faced severe

limitations on his communications with the outside world, and had to be restrained

in handcuffs and/or shackles whenever he left his cell.

          101.   The Defendant Facility Supervisors also placed J.D. in an adjoining

segregation unit and assigned him to a cell nearby Mr. Miller’s.

          102.   In segregation, J.D. threatened Mr. Miller on a regular basis.

          103.   J.D. told Mr. Miller to withdraw his rape allegations or he would be

killed.

          104.   When Mr. Miller refused, J.D. put a “green light” on Mr. Miller’s life,

telling the members of his gang to kill Mr. Miller.

          105.   J.D. came to Mr. Miller’s cell repeatedly during recreation time to

threaten him.

          106.   Their cells were close enough that Mr. Miller could hear J.D.

          107.   J.D.’s fellow gang members, too, threatened Mr. Miller.

          108.   For several months, Mr. Miller could not even use the showers in

segregation because he would be exposed to J.D. and J.D.’s associates.




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      109.   Even though the segregation block was used for prisoners at risk of

violence, the locks on the cells were ineffective and could be “tricked” to open.

      110.   Thus, Mr. Miller lived in fear that J.D. or his associates would enter

his cell to harm him.

      111.   After many weeks, J.D. returned to general population, but before long

the Defendant Classification and Housing Administrators again placed J.D. in

segregation near Mr. Miller.

      112.   St. Clair had no grievance system, so Mr. Miller was unable to inform

Defendants of the threats to his life through official channels.

      113.   Instead, Mr. Miller wrote letters to staff members, including

Defendants Davenport, Estes, Evans, Gordy, Northcutt, Malone, and Peters,

informing them about J.D.’s threats and pleading for help. Defendants never

responded to Mr. Miller.

      114.   Mr. Miller submitted multiple requests for a housing assignment

change to Defendants including Defendant Classification and Housing

Administrators. These requests went unanswered as well.

      115.   Mr. Miller also verbally told Defendants Northcutt and Malone about

the threats to his life when they came to the segregation unit. Neither took any

steps to document the threats, alert their supervisors, protect Mr. Miller from J.D.’s

retaliation, or discipline J.D. for the misconduct.

      116.   Defendants including Brian Fife and an unknown Defendant

Correctional Officer heard J.D. threaten Mr. Miller in segregation, but they did not




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report the incident or alert a supervisor. Nor did they take any steps to discipline

J.D. or move Mr. Miller to a safer location.

        117.   Despite their actual knowledge that Plaintiff had consistently alleged

retaliation from J.D., and despite having both the power and opportunity to

intervene to protect Plaintiff from ongoing retaliation, these Defendants failed to

protect Plaintiff from the retaliation.

        118.   To free up bed space in segregation, Defendants including Defendant

Peters ordered Mr. Miller to return to general population. Mr. Miller refused to do

so because he knew he would not be safe there due to the “green light” J.D. had put

on his life.

        119.   Defendant Peters responded by punishing Mr. Miller with a

disciplinary citation, even though he knew that Mr. Miller would be unsafe in

general population given the rape and the continued threats from J.D. and his

associates.

        120.   Despite all the hardships that Mr. Miller had endured to bring J.D. to

justice, Plaintiff never received any information from the Defendant Investigators

or Defendant Facility Supervisors about the status of the I&I investigation into his

rape.

        121.   Upon information and belief, Defendants never disciplined J.D. in any

way for raping Mr. Miller. Meanwhile, Mr. Miller remained in segregation, where

he was threatened and subjected to discipline.




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       122.   To his knowledge, Mr. Miller’s rape complaint was never referred to

local law enforcement for further legal action.

       123.   By placing Mr. Miller at substantial risk of harm and the other

misconduct described herein, Defendants caused Mr. Miller numerous injuries,

including a horrific rape and devastating injuries suffered in its aftermath.

                      The Epidemic of Violence at St. Clair

       124.   Long before J.D. raped Plaintiff, the Defendants were all well aware

that prison rapes and assaults were an endemic problem at St. Clair.

       125.   The violence at St. Clair increased sharply beginning in 2010, when

Defendant Thomas first appointed Defendant Davenport to serve as the warden of

St. Clair.

       126.   In fiscal year 2010, the number of reported assaults at St. Clair was

just 23.

       127.   In each successive year, the number of reported assaults grew at an

astonishing rate: to 59 in fiscal year 2011; 78 in fiscal year 2012; 101 in fiscal year

2013; 127 in fiscal year 2014; 157 in fiscal year 2015, the year J.D. raped Mr. Miller;

and 249 in fiscal year 2016.

       128.   Six prisoners were murdered at St. Clair between 2011 and 2014 alone.

       129.   The rate of assaults at St. Clair far exceeded typical levels of violence

at comparable facilities across the nation.

       130.   Below are examples of assaults at St. Clair in two years preceding Mr.

Miller’s rape:




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             a.     In 2013, a prisoner was stabbed multiple times with an ice pick

outside the gym by another prisoner. At the time there were approximately 200

prisoners in the area, but no officers were present to intervene in the conflict. The

guards did not intervene even to render medical aid; the prisoner had to make his

own way to medical staff who sent him via ambulance to an outside hospital

because of the seriousness of his wounds.

             b.     In July 2013, Mark Duke was stabbed several times by another

prisoner in the G-Yard and suffered a punctured lung.

             c.     In August 2013, Jammy Bell was fatally stabbed by another

prisoner in the segregation unit after an officer failed to follow proper protocol for

opening the cell doors.

             d.     In September 2013, Frankie Johnson was burned in his cell in

the middle of the night by a prisoner who was able to exit his own cell and enter Mr.

Johnson’s cell to douse him with a chemical substance, heated in a microwave, in

his sleep. The scalding caused severe chemical burns.

             e.     In September 2013, Allan Williams was stabbed by a prisoner,

who, upon information and belief, suffered from mental illness. Upon information

and belief, the man who stabbed Mr. Williams had a violent history and had

stabbed another prisoner a few years earlier.

             f.     On or about November 2013, upon information and belief,

Freddie James Stallworth was stabbed multiple times by another prisoner who was

his cell mate. The stabbing caused serious injuries including a punctured lung, and




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required surgery at a free world hospital. Prior to the attack, Mr. Stallworth

notified Lieutenant Carla Graham that he was in danger from his cell mate, and

requested a move. His request was denied without adequate investigation. He was

stabbed soon thereafter.

             g.     In December 2013, Michael Mays was stabbed by another

prisoner on the way to the chow hall. Mr. Mays was stabbed in the neck, in the

back, and in the elbow. Mr. Mays had to be taken to an outside hospital for

treatment.

             h.     In January 2014, Marquette Cummings was stabbed and killed

in the TV room, a blind spot to the assigned officer.

             i.     In February 2014, a prisoner was stabbed inside his cell, a blind

spot to the officer assigned to monitor his housing unit.

             j.     In May 2014, Antonio Cheatham was assaulted by another

prisoner in the bathroom of the H dorm, another known blind spot, while no

correctional officers were in view. Part of his ear was bitten off and flushed down a

toilet before any officers responded to the struggle.

             k.     In May 2014, Derrick White was stabbed in the gym by another

prisoner. Mr. White’s assailant also stabbed another prisoner during this incident.

There were approximately 20 prisoners present in the gym and 200 prisoners in the

yard at the time of the stabbing. Upon information and belief, there was one officer

supervising the yard and no officers present in the gym.




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                l.   In June 2014, Mr. White was assaulted again, this time in the

hallway between P and Q blocks during a movement time by a prisoner who, upon

information and belief, was not assigned to either block. There were no officers

present when Mr. White was assaulted. He was strangled and then dragged while

unconscious into the showers in Q. He was in the showers from approximately 7:30

a.m. until 1:00 p.m. and was never found by staff, despite the fact that, upon

information and belief, a count was conducted during the time he was missing.

                m.   On or about June 3, 2014, Jodey Waldrop was murdered in his

cell by another prisoner, who was able to enter Mr. Waldrop’s cell in the middle of

the night when the block was on lockdown, when Mr. Waldrop’s cell was supposed

to be locked.

                n.   In July 2014, A.H. was sexually assaulted at knifepoint in his

cell in M-Block by a prisoner who was not assigned to his cell. A.H. immediately

reported the assault to prison staff. At the infirmary, nurses and officers laughed at

A.H. while he was medically examined. A.H. reported that he was suicidal and was

kept in a crisis cell for five days. He was then sent to an isolation cell in segregation

in the same unit as his assailant, who threatened him. A.H. did not receive

continuing mental health care and was never provided with the outcome of the I&I

investigation. On information and belief, no discipline was imposed on his assailant.

                o.   In August 2014, Willie Brantley was stabbed by the same

prisoner that fatally stabbed Jammy Bell in 2013, after the prisoner was assigned to

clean the halls in the segregation unit. The officers failed to secure the food-tray




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slots on the cell doors and the assailant was able to stab the prisoner in his leg by

sticking a knife attached to a broom handle through his open tray slot.

             p.      In August 2014, Victor Russo, who is 52 years old, was moved

into a new block and soon after was accosted by three younger prisoners armed with

knives who robbed him. When Mr. Russo reported the robbery to correctional staff,

Captain Sanders suggested he get a knife to protect himself.

             q.      In September 2014, Tim Duncan was murdered by another

prisoner or prisoners in N-Block. Mr. Duncan had previously had conflict with

individuals in N-Block and had made numerous requests to Captain Sanders to be

transferred to another block. These requests were repeatedly denied.

             r.      In September 2014, Joseph Royal was attacked by his cell mate

soon after being transferred to P-Block in a spot that was not visible to officers. Mr.

Royal was assaulted while sleeping and woke up covered in blood. He was taken to

Brookwood Hospital, where he received staples in his head.

             s.      In September or October 2014, Christopher Chapple was beaten

over the course of several hours by multiple assailants in Q-Block. There was only a

single officer in the block, a cadet, who never came out of the “cube” monitoring

station during Mr. Chapple’s assault, nor called for other officers to assist as the

beating continued.

             t.      In October 2014, prisoner Dale Gilley was assaulted in the

dimly-lit tunnel leading to H-Dorm following his visit with attorneys. As Mr. Gilley

entered the tunnel was punched in the face by someone Mr. Gilley could not see.




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Mr. Gilley reported the incident and, because he was unable to identify his

assailant, was given the choice of signing a liability release form or going to an

isolation cell in segregation.

             u.     In November 2014, Frankie Johnson, was stabbed in the back of

his head, the backs of both arms, his left side, and on one of his fingers while in the

chow hall and in full view of several correctional officers. Mr. Johnson required

staples to the back of his head and stitches to his finger.

             v.     On or about December 3, 2014, Michael Stamper, who is 53

years old, was stabbed approximately eight times, including twice in his forehead

and in his lung. Mr. Stamper received over 40 stitches and required treatment at

UAB hospital.

             w.     In December 2014, J.H. was sexually assaulted at knifepoint in

his cell by prisoner J.D., the same man who later raped Mr. Miller, as described

above in paragraphs 49-64.

             x.     In January 2015, D.C., a nonviolent offender, was raped at

knifepoint in L-Block. D.C. was scared to report the rape because his assailant

threatened to kill him, but decided to take action when friends of his assailant

continued to harass him. D.C. was placed in an isolation cell in segregation after

reporting the rape, but he still did not have sight and sound separation from his

assailant. D.C. did not receive continuing mental health counseling.

             y.     In January 2015, Bradley Gant was attacked as he was leaving

his block during a meal time. He suffered head and facial injuries after being struck




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with a metal lock by an inmate who had previously harassed him. Mr. Gant

required staples in the back of his head and stitches on his chin as a result of the

assault. When Mr. Gant reported the earlier harassment, Captain Sanders

responded that the other inmate “isn’t here to take care of you,” and advised Mr.

Gant to “get a knife and do something about it.”

             z.     In January 2015, Derrick LaKeith Brown, an inmate who

suffers from hemophilia, was stabbed and seriously injured by another inmate. His

wounds included a punctured liver and internal bleeding that required treatment at

UAB hospital.

             aa.    In January 2015, Elliott Blount was robbed and stabbed in his

cell in a blind spot in N-Block. Mr. Blount’s assailant was assigned to P/Q and was

allowed to enter an unassigned living area. Mr. Blount suffered severe head injuries

that required extensive surgery at UAB hospital.

             bb.    In January 2015, Justen Stinson was stabbed and punched in

his cell in P-Block. After the assault, no guards were available to assist him.

Instead, Mr. Stinson wandered through several other blocks seeking help for his

injuries from other prisoners.

             cc.    In January 2015, Micah Mays was stabbed and cut multiple

times, suffering injuries to his face, wrists, neck, and shoulders during a robbery

attempt in N-Block. His assailants had entered N-Block from a different block. His

injuries were so severe he required treatment at UAB hospital.

      131.   Defendants had knowledge of these violent incidents.




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      132.   Each of the murders at St. Clair were known to the Defendants,

including Defendants Thomas, Culliver, and Davenport. The murders received

media coverage that included responses from ADOC spokespersons.

      133.   Also adding to Defendants’ knowledge of the security crisis at St. Clair

were incident reports, I&I reports, duty officer reports, disciplinary records, medical

records, annual and monthly ADOC data reports, prisoner progress reports, direct

observation of incidents, communications among staff, and prisoner lawsuits.

    Defendants’ Failure to Address the Epidemic of Violence at St. Clair

      134.   Despite having notice of the substantial risk of violence facing

prisoners at St. Clair, Defendants failed to take reasonable steps to address and

reduce the risk of violence.

      135.   As early as March 2012, during a state senator’s tour of St. Clair,

Defendant Davenport referred to weapons at St. Clair as a “security nightmare” and

Defendant Thomas acknowledged that conditions at the prison were poor for

prisoners. See Dixon Hayes, Sen. Ward, State Commissioner Tour St. Clair Prison,

WBRC, available at http://www.wbrc.com/story/17178621/sen-ward-state-

commissioner-tour-st-clair-prison.

      136.   Nonetheless, Defendants Thomas and Davenport and the other

Defendant Supervisors took no corrective action in 2012 or 2013 to reduce violence

and improve security at St. Clair.

      137.   On April 22, 2014, attorneys from the Equal Justice Initiative (“EJI”)

wrote Defendant Thomas regarding the alarming rise in violence and




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unprecedented homicide rate at St. Clair under Defendant Davenport’s leadership

and met with Defendant Thomas to emphasize these concerns, asking him to

investigate the escalating violence at St. Clair. See Exh. B, April 22, 2014 Letter

from Bryan Stevenson.

      138.   The Defendant Supervisors took no corrective action following the

meeting, and the violence at St. Clair continued to escalate.

      139.   On June 9, 2014, following the murder of yet another St. Clair

prisoner, EJI counsel sent a second letter to Defendant Thomas, renewing EJI’s

request for the removal of Defendant Davenport and the immediate implementation

of reforms. In this letter, and in subsequent meetings with Defendant Thomas and

his staff, EJI counsel cited alarming facts about violence at St. Clair, noting the

three homicides and more than a dozen near-fatal assaults that had taken place at

the facility in the previous year. EJI attorneys also described the poor leadership by

Warden Davenport responsible for the surge in violence, citing a “complete absence

of accountability” and “misconduct by staff.” Exh. C, June 9, 2014 Letter from Bryan

Stevenson.

      140.   Again, the Defendant Supervisors took no corrective action and the

violence at St. Clair continued to escalate.

      141.   In October 2014, shortly after the murder of another St. Clair prisoner,

the Equal Justice Initiative filed a class action lawsuit on behalf of St. Clair

prisoners seeking injunctive relief to reduce the violence at St. Clair. See Exh. A,

Cheatham Complaint.




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      142.   The Equal Justice Initiative’s lawsuit named as defendants

Commissioner Kim Thomas, Associate Commissioner James Deloach, Associate

Commissioner Terrance McDonnell, Deputy Commissioner Greg Lovelace,

Institutional Coordinator Grant Culliver, Warden Davenport, Assistant Wardens

Eric Evans and Karen Carter, and Captains Carl Sanders and Gary Malone.

      143.   In the Cheatham Complaint, the Equal Justice Initiative described in

detail the history of violent assaults in St. Clair, including most of the violent

incidents described above at subparts (a) to (cc) of paragraph 130.

      144.   The Cheatham Complaint also described the policies and practices

fueling the outbreak of violence at St. Clair, including the Defendant Supervisors’

failure to address the widespread proliferation of contraband weapons at the

facility, their creation of a dangerous culture of violence and abuse, their

inadequate staffing, supervision, and monitoring of the facility, and their failure to

respond appropriately to violence and rape.

      145.   Each of the defendants in the Cheatham litigation was served with the

lawsuit and on notice of the allegations therein.

      146.   Yet in the aftermath of the Cheatham lawsuit, the Defendant

Supervisors again failed to take reasonable, necessary, and appropriate steps to

remedy the dangerous conditions at St. Clair. The violence at St. Clair continued to

escalate.

      147.   In January 2015, Defendant Dunn took over as the Commissioner of

the ADOC.




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       148.     Shortly afterwards, Defendant Dunn received notice of the allegations

in the Cheatham complaint and became a Defendant in the action.

       149.     Defendants Dunn took no corrective actions to reduce the substantial

risk of harm facing prisoners at St. Clair.

       150.     In March 2015, Defendant Dunn named Defendant Estes to be the new

warden of St. Clair.

       151.     During Defendant Estes’s leadership transition, Defendants Dunn and

Culliver declined to discuss with him the violence, PREA violations, and security

issues at St. Clair, or the allegations in the Cheatham Complaint.

       152.     Nor did Defendants Dunn and Culliver instruct Defendant Estes to

improve safety at St. Clair.

       153.     Defendant Estes was nonetheless aware of the violence and security

challenges at St. Clair through institutional reports, media reports, and his

observations of the facility.

       154.     In addition, shortly after assuming the warden position, Defendant

Estes became a defendant in the Cheatham case and received notice of the

allegations in the Cheatham Complaint.

       155.     Defendant Estes, too, failed to take corrective action to improve safety

at St. Clair.

       156.     Upon information and belief, nearly all of the inadequate policies and

procedures identified in the Cheatham Complaint remain in existence today. See




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Exh. D, Mtn. for Class Certification, Cheatham, et al. v. Thomas, et al., No. 4:14-cv-

1952 (N. Dist. Ala.) (Dkt. No. 93).

      157.     The violence at St. Clair continues unabated. See id.

                  Defendants’ Encouragement of the Widespread
                 Proliferation of Contraband Weapons at St. Clair

      158.     Defendants were aware of – and, in some cases, encouraged – the

widespread proliferation of contraband weapons at St. Clair, exhibiting deliberate

indifference to the substantial risk of harm that such weapons created to prisoners

such as Mr. Miller.

      159.     By the time of Mr. Miller’s assault, it was a matter of common

knowledge among St. Clair staff that the prisoner population at St. Clair was

heavily armed.

      160.     Health care professionals in St. Clair’s infirmary saw stab wounds on a

regular basis.

      161.     In the words of Defendant Correctional Officer Truitt, a single 24-

person cell block at St. Clair could contain “30 to 40” contraband knives; contraband

was “out of control”; and prisoners were being “being assaulted in every way

imaginable.”

      162.     As set forth above, knives were commonly used in assaults at St. Clair,

including the stabbing deaths of Marquette Cummings, Jodey Waldrop, Jammy

Bell, and Jabari Bascomb and the assaults of Mark Duke, Freddie James

Stallworth, Allan Williams, Michael Mays, Derrick White, A.H., Willie Brantley,




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Victor Russo, Frankie Johnson, Michael Stamper, J.H., D.C., Derrick LaKeith

Brown, Elliott Blount, and Micah Mays.

      163.   In its October 2014 lawsuit, the Equal Justice Initiative brought to

Defendants’ attention the widespread availability of weapons and contraband at the

facility, providing numerous examples of stabbings and other violent incidents that

had occurred at St. Clair during Defendant Davenport’s tenure as warden.

      164.   The Defendant Supervisors, including Defendants Thomas, Culliver,

Davenport, Sanders, and Malone, did nothing to curtail the widespread availability

of contraband weapons at St. Clair, exhibiting deliberate indifference to prisoners

such as Mr. Miller who were likely to be victimized by such weapons.

      165.   Instead, the Defendant Supervisors fostered and enabled the

accumulation of weapons through at least three policies and practices: (a) the

encouragement of violence; (b) inadequate search procedures; and (c) inappropriate

responses when weapons were recovered.

      166.   Warden Davenport and Captain Sanders directly encouraged prisoners

commit assaults and Defendant Sanders even personally armed them. For example:

             a.     Upon information and belief, Defendant Sanders taunted

prisoners and responded to their safety concerns by telling them to, “get a knife,”

“kill him or kill yourself,” and “if you really don’t like him, stab him.”

             b.     Robert Woods was reassigned by Defendant Sanders to a violent

block where he was vulnerable because of his advanced age at the time and physical

disability. When he expressed fear for his safety to Defendant Sanders, Sanders




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responded “If you ain’t got a knife, I’ll give you one.” When Mr. Woods reported a

subsequent theft to Defendant Sanders, Sanders responded that he had moved Mr.

Woods so that something like that would happen to him. When Mr. Woods informed

Defendant Davenport about Defendant Sanders’ comments, Defendant Davenport

asked Mr. Woods if he had a knife yet and told Mr. Woods to do what he needed to

do to survive on his new block. Mr. Woods made one final request to Defendant

Sanders to move him from his new block and Defendant Sanders responded by

placing several box cutters on a table and telling Mr. Woods to make a knife to

protect himself.

              c.    In August 2014, in response to learning that prisoner Victor

Russo had been accosted and robbed, Defendant Sanders suggested that Russo get a

knife to protect himself. See supra at ¶130(p).

              d.    In January 2015, Defendant Sanders told prisoner Bradley Gant

to “get a knife and do something about it” when Gant reported that he was being

harassed by a prisoner. See supra at ¶130(y).

       167.   As the Defendant Supervisors were well aware, their deficient search

procedures, too, promoted and enabled the accumulation of contraband weapons at

St. Clair.

       168.   Security staff at St. Clair did not regularly conduct facility-wide

searches and other standard prison search protocols and procedures to root out

contraband.




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       169.   Defendant Supervisors including Warden Davenport, Assistant

Warden Evans, and the Defendant Unknown Shift Supervisors turned a blind eye

to noncompliance with search protocols at St. Clair.

       170.   Defendant Davenport further chose not to even conduct any internal

security audits of St. Clair’s compliance with search protocols and the level of safety

in the institution.

       171.   In October 2014, an external security audit of St. Clair confirmed that

St. Clair was noncompliant in its search protocols for contraband, including

weapons.

       172.   The security audit was submitted to Defendant Culliver and discussed

with Defendant Supervisors including Defendant Davenport.

       173.   Nonetheless, the Defendant Supervisors took no corrective action.

       174.   Furthermore, when the Defendant Facility Supervisors recovered

weapons from prisoners, they responded with indifference, often declining to

discipline prisoners found with knives.

       175.   The failure to discipline the possession of weapons created a dangerous

culture whereby prisoners knew they could possess weapons with impunity and felt

emboldened to use those weapons without fear of incurring any disciplinary

citations.

       176.   As but two examples, Defendant Peters recovered a knife from Mr.

Miller’s assailant, J.D., in February 2015, but J.D. was not disciplined for the

incident. On information and belief, Defendant Northcutt recovered another knife




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from J.D. in September 2015, and again, Defendants failed to impose any discipline

on J.D.

       177.   Even in the aftermath of the Cheatham litigation, the Defendant

Supervisors made no meaningful attempt to address contraband weapons at St.

Clair, exhibiting deliberate indifference to the resulting substantial risk of harm

created for prisoners such as Mr. Miller who would fall victim to those weapons.

    Defendants’ Creation of a Culture of Abuse and Violence at St. Clair

       178.   Defendants also fueled a culture of violence at St. Clair by engaging in

violence themselves, tolerating and condoning violence by staff members, and

failing to discipline prisoners for violent acts.

       179.   As set forth above, Defendants Davenport and Sanders encouraged

prisoners to stab and fight with one another. See supra ¶166.

       180.   Defendants Davenport, Malone, and Sanders also regularly victimized

prisoners. For example:

              a.     In 2012, Defendant Davenport punched a handcuffed prisoner in

the face. The incident was not investigated, and the Defendant Administrative

Supervisors did not strip Defendant Davenport of his command or demote him.

              b.     On or about December 3, 2014, Defendant Malone assaulted

prisoner Marcus Webb while Webb was handcuffed in the infirmary. Mr. Webb

suffered head and arm injuries as a result of this assault.

              c.     That same year, Defendant Malone punched a handcuffed

prisoner in the head, chipping the prisoner’s tooth.




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             d.     For three days and two nights in October 2014, prison staff

forced prisoner Antonio Cheatham to stand outside the shift office because the

prison staff refused to place Mr. Cheatham in safe housing. The situation began on

or around October 3, when Defendant Sanders ordered Mr. Cheatham to move to L-

Block. Mr. Cheatham, who had recently had part of his ear bitten off by another

inmate, told Captain Sanders that he had documented enemies in L-Block and

could not live there. Captain Sanders responded by telling Mr. Cheatham he could

either move to L-Block or stand outside the shift office all night. Mr. Cheatham

remained there for approximately three days and two nights before being sent to an

isolation cell in segregation.

      181.   In addition, the Defendants Supervisors, including Warden Davenport

and his designees, refused to discipline correctional officers for using excessive force

against prisoners, even when those officers had a history of abusive behavior. For

example:

             a.     Upon information and belief, in January 2012, St. John Mason

beat inmate Joseph Shack, who suffered hearing loss as a result. Mr. Shack had

requested the presence of a witness at a disciplinary hearing, and Sgt. Mason

responded: “This is what I do to a [n . . . ] that tries to tell me how to do my job” and

proceeded to punch him in the head, face, and ear; stomp on his back; kick him; and

yell racial epithets at him, all while Mr. Shack was handcuffed and shackled. Mr.

Shack was treated for a ruptured ear, fractured thumb, and internal bleeding. He

was fitted for a hearing aid following the rupture.




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              b.    Upon information and belief, Officer Matthew Moore beat

inmate Darrious Mabry in October 2012. In a dispute over Mr. Mabry leaving the

dining hall with extra cake, Officer Moore left his post and attacked Mr. Mabry,

who suffered a broken nose, split lip, broken tooth, injured eye, and head

contusions.

              c.    Upon information and belief, multiple St. Clair officers beat

prisoner Richardo Eason while he was handcuffed in February 2013. The officers

assaulted Mr. Eason in the segregation unit, after he had been placed in handcuffs

so he could leave his cell for a shower. Officer JaMichael Howard left his post and

approached Mr. Eason, asked him a question, then punched Mr. Eason several

times in the face. Officers Taylor Knight and Chad Cleveland then assisted Howard

in slamming Mr. Eason onto the floor.

              d.    Officers Chad Cleveland, M. Desnides, and W. Howard

assaulted prisoner Jermaine Tillman in February 2013. The officers assaulted Mr.

Tillman when he was returning to his cell from the showers and was restrained in

handcuffs behind his back. The officers hit Mr. Tillman in the face, slammed his

head into a window, and continued to punch, kick, and beat him when he fell to the

floor.

              e.    In May 2014, Lieutenant Carter forced Dale Gilley to stand

outside the shift office facing the wall for fourteen hours and, at one point during

that period of time, slammed his head against the wall and punched him in the face.




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             f.     In May 2014, Lieutenant Carter put his hands around an

inmate’s neck and applied pressure until he lost consciousness. The inmate had to

be taken to UAB hospital due to his injuries.

             g.     In July 2014, Correctional Officers Donald Lukima and

Christopher Smith, officers on Lieutenant Carter’s shift, assaulted a prisoner.

Officers Lukima and Smith ordered the prisoner out of his cell in the middle of the

night, took him into the hallway outside his block, handcuffed him, and then hit

him in the back of the head with handcuffs wrapped around their knuckles, causing

injuries requiring staples.

             h.     In March 2014, inmate Tommy Demming observed Officer

Bryan Chapman assaulting a handcuffed inmate. When Mr. Demming verbally

intervened, Officer Chapman opened the door to his cage and punched him three

times in the head. Mr. Demming was handcuffed while he was assaulted.

             i.     In June 2014, an officer assaulted inmate Demetric Pritchett

multiple times in the head and face while Mr. Pritchett was restrained. The final

assault occurred at the orders of Defendant Malone.

             j.     On or about August 4, 2014, Officer Chad Cleveland and

Defendant Truitt sprayed Charlie Bennett with chemical spray and paraded him

through the prison naked. Officer Cleveland had entered Mr. Bennett's cell and

ordered him to strip, squat and cough, an order Mr. Bennett complied with. No

contraband was found, yet Officer Cleveland ordered him to squat and cough again.

Mr. Bennett again complied and again no contraband was found. The third time




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Officer Cleveland ordered him to squat and cough, Mr. Bennett refused, believing

another search was excessive. Officer Cleveland and Defendant Truitt then sprayed

him with chemical spray and walked him naked through the camp, declining to

provide him with proper medical treatment to remove the chemical from his eyes

and face.

              k.   On or about September 3, 2014, Officer Daniel Turner assaulted

Michael Nelson, a partially-paralyzed stroke victim who relies on a wheelchair,

following a disagreement over a clothesline that Mr. Nelson used near his bunk in a

medical dorm. Officer Turner cursed at Mr. Nelson, threatened to kill him, and

repeatedly punched him in the face and chest. Officer Turner pushed Mr. Nelson in

his wheelchair into a bathroom area, where he threw Mr. Nelson and the

wheelchair into a wall and forced Mr. Nelson onto the floor, destroying his

wheelchair.

              l.   In September 2014, Officer Burns assaulted Arlo Townsend

while Mr. Townsend wore handcuffs, after which Mr. Townsend was sprayed with a

chemical agent. Lieutenant Ronald Carter accompanied Mr. Townsend to the

infirmary, where Lieutenant Carter inflicted a second beating on the handcuffed

Mr. Townsend, which resulted in severe injuries to his jaw, mouth, and teeth.

              m.   On or about October 6, 2014, Officer Lauolefiso Jones assaulted

prisoner Terrence Seay in the barbershop while Mr. Seay wore handcuffs and leg

shackles. Officer Jones punched Mr. Seay, throwing him to the ground, then

stomped on him and struck him with a broom handle.




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             n.    In October 2014, Officer Lauolefiso Jones beat and cursed at

Jamie Abrams, at the time a resident of the honor dorm. Officer Jones grabbed Mr.

Abrams by the neck and slammed his head against a wall. The assault was the

result of Mr. Abrams’ mistakenly sitting at the wrong table during a Kairos

religious program at the prison.

             o.    In October 2014, Officer Lauolefiso Jones entered Matthew

Owens’ cell after the Kairos program, grabbed Mr. Owens by the neck and slammed

his head into his bunk several times. Mr. Owens nearly passed out while being

choked. Officer Jones also threatened to kill him and shouted numerous profanities

at him.

             p.    In October 2014, officers in the segregation unit restrained and

assaulted Joseph Royal, upon an instruction from Defendant Malone to beat him.

             q.    In November 2014, Officer Padgett shoved Tommy Demming

into a wall and punched him in the face, while Mr. Denning was handcuffed.

             r.    On or about November 3, 2014, Officer Lauolefiso Jones

assaulted prisoner James Howard while he was walking to the chow hall. Officer

Jones grabbed the front of Mr. Howard’s shirt, picked him up, and slammed him

into the ground. Officer Jones then rolled him over, handcuffed him, and kicked him

while he was handcuffed. Officer Jones shouted homophobic slurs during the

assault.

             s.    On or about December 7, 2014, two officers assaulted Antonio

Johnson when he attempted to eat in the chow hall without his identification. Mr.




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Johnson tried to explain his lack of identification but was ordered to go to the shift

office. As he was complying with the order, Officer Burke punched him multiple

times in the face. A second officer, Officer Bowman, approached and the two officers

forced Mr. Johnson to the ground and kicked him in the head.

             t.     In December 2014, four officers in the infirmary assaulted Larry

Nesbitt, who was undergoing an evaluation for a toothache and high blood pressure.

Officers Howard Jr., Williams, Suggs, and Howard Sr. ordered nurses to leave the

room, then slapped and punched Mr. Nesbitt, who was handcuffed throughout the

assault.

             u.     On January 3, 2015, officers beat Shakil Gamble and ordered

him to the shift office where he was directed to stand facing the wall. While Mr.

Gamble was standing with his hands against the wall, Officer Tolliver repeatedly

slammed his head into the wall. Additional officers entered the shift office,

including Lieutenant Carter. Officers began to beat Mr. Gamble and strike him

with their batons. Mr. Gamble’s head was also slammed against the floor.

             v.     Upon information and belief, in January 2015, officers in the L-

Block body-slammed Zendarius White after he asked why the officers were

harassing other prisoners.

             w.     In January 2015, multiple officers assaulted Justin Jackson by

punching him, slamming him to the ground, kicking him, and striking him with

their batons, all while he was handcuffed. The officers dragged Mr. Jackson to the

infirmary, where the assault continued until Mr. Jackson was locked in a temporary




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holding cage. Sergeant Cook approached him in the cage, then called Officer

Howard who began to beat Mr. Jackson again, all while Mr. Jackson remained

handcuffed. Howard and Cook also struck Mr. Jackson with their batons.

             x.     On or about February 3, 2015, two officers assaulted handcuffed

prisoner Demetric Pritchett. Mr. Pritchett had requested to see a supervisor

regarding threats he was receiving from other men in the segregation cell block.

Officers Jason Schmid and Patton escorted him outside his cell and to a hallway,

where they repeatedly punched him in the face.

      182.   The Defendant Supervisors were aware of the incidents identified

above through internal reports including use of force reports, incident reports, duty

officer reports, medical reports, and through external sources such as the Cheatam

Complaint.

      183.   On information and belief, none of the officers received meaningful

discipline for the abuses detailed in paragraph 180 and 181.

      184.   The failure to discipline officers for excessive force and other

misconduct signaled to the correctional officers at St. Clair that they could abuse, or

fail to protect, prisoners without fear of any adverse consequences.

      185.   The failure to discipline officers for excessive force and other

misconduct signaled to prisoners at St. Clair that they could abuse other prisoners

without fear of any adverse consequences.

      186.   Defendants including Defendants Davenport, Estes, Carter, and Evans

also failed to properly investigate and discipline acts of violence by prisoners,




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emboldening violent prisoners such as Mr. Miller’s assailant, J.D., by permitting

them to assault other prisoners with impunity.

      187.   Defendants’ conduct created a dangerous culture of violence at St.

Clair, which, in turn, heightened the risk of inmate assaults on vulnerable prisoners

such as Mr. Miller.

      188.   The Defendant Supervisors were put on notice of the culture of abuse

and violence at St. Clair through their participation in it, their roles at St. Clair and

ADOC, internal ADOC reports, communications with staff and prisoners, prisoner

lawsuits, and media coverage.

      189.   The Defendant Supervisors were also put on notice of this culture

through the Equal Justice Initiative’s Cheatham Complaint, which described in

detail the ways in which Defendants fostered and encouraged a culture of abuse and

violence at St. Clair and the resulting risks to prisoners.

      190.   Nonetheless, with deliberate indifference to a substantial risk of harm

to prisoners such as Mr. Miller, the Defendant Supervisors failed to address or curb

the culture of violence that they themselves had created, perpetuated, and

condoned.

              Defendants’ Placement of Mr. Miller in a Dormitory
                  with a Known Sexual Assault Perpetrator

      191.   Defendant Supervisors including Davenport, Estes, Gordy, Peters,

Carter, Sanders, Estelle, and Head of Inmate Control Systems had an unreasonable

and longstanding policy and practice of failing to separate predatory, violent, and

gang-affiliated prisoners such as J.D. from vulnerable prisoners at St. Clair.



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      192.   Defendants failed to adequately and effectively separate predatory

prisoners even though they knew that the failure to do so had contributed to

violence in the past, such as the assaults of Allan Williams (see supra at ¶130(e))

and Willie Brantley (see supra at ¶130(o)).

      193.   For example, J.D. was known to Defendants to be a sexual assault

perpetrator with a long history of disciplinary infractions, including an attempted

rape in December 2014.

      194.   Nonetheless, the Defendant Classification and Housing

Administrators, along with Defendants Davenport, Gordy, Carter, Evans, Peters,

and Sanders, chose to house J.D. in a dormitory alongside vulnerable prisoners such

as Mr. Miller.

      195.   Defendants acted with deliberate indifference and their misconduct

placed vulnerable prisoners such as Mr. Miller at substantial risk of harm.

         Defendants’ Failure to Supervise and Monitor the H-Dorm

      196.   Defendants Davenport, Sanders, Culliver, and the Defendant

Classification and Housing Administrators housed Mr. Miller in the H-Dorm, where

they also housed known perpetrators of sexual assault such as J.D.

      197.   Having placed Mr. Miller in the same dormitory as a known attempted

rapist with a history of misconduct, the Defendant Supervisors failed to promulgate,

implement and enforce adequate policies, procedures, and practices necessary to

adequately supervise and monitor the housing units, such as the H-Dorm and to

maintain the safety of prisoners therein.




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      198.     As the Defendant Supervisors and Defendant Correctional Officers

were well aware, St. Clair was both dangerously overcrowded and dangerously

understaffed at the time Mr. Miller was attacked.

      199.     On February 1, 2015, the date of Mr. Miller’s assault, St. Clair had an

inmate population of 1301, despite a design capacity of only 984.

      200.     On the same date, St. Clair had only 160 Assigned Correctional

Officers – just 64 percent of the authorized positions to oversee 984 prisoners, let

alone 1,301.

      201.     Those staffing numbers translated to a prison staff/inmate ratio that

was among the worst in the nation for comparable facilities.

      202.     The chronic understaffing interfered with critical security functions,

including supervision and monitoring of prisoners and regular, systematic, facility-

wide searches for contraband.

      203.     The Defendant Supervisors, including Defendants Davenport, Culliver,

Lovelace, and Unknown Shift Commanders, and the Defendant Correctional

Officers, were well aware of the staffing shortages.

      204.     These Defendants were likewise aware that the resulting inadequate

supervision of prisoners created a dangerous environment that allowed and

encouraged homicides and assaults such as the rape of Mr. Miller.

      205.     These Defendants also had notice that blind spots on the units, in

concert with inadequate staff presence, officer inattentiveness, and the lack of

surveillance equipment, created a substantial risk of harm to prisoners.




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      206.   These Defendants also knew that these features had contributed to

numerous violent incidents in the years leading up to the rape of Mr. Miller.

      207.   At least four St. Clair prisoners had been murdered in “blind spots” in

the four years leading to Plaintiff’s rape: Marquette Cummings (see supra at

¶130(h)); Jodey Waldrop (see supra at ¶130(m)); Jabari Bascomb, who was stabbed

to death in October 2011 in a cell whose locked door had been “tricked” open; and

John Rutledge, who was strangled to death in May 2012 in his cell in the middle of

the night when the cells should have been locked down.

      208.   Blind spots had also factored into many serious and near-fatal

assaults, including a February 2014 stabbing and the assaults of Antonio

Cheatham, Joseph Royal, and Elliot Blount (see supra at ¶¶130(i), 130(j), 130(r),

130(aa)).

      209.   Inadequate supervision and staff presence factored into assaults as

well, including those of Derrick White, Justen Stinson, Christopher Chapple, and a

prisoner stabbed with an ice pick in 2013. See supra at ¶¶130(a), 130(k), 130(s),

130(bb).

      210.   Four full months before the rape of Mr. Miller, the Equal Justice

Initiative identified all of these shortcomings in detail – the overcrowding, the

understaffing, the blind spots, and the inadequate supervision at staff presence at

St. Clair – in a complaint that was served on many of the Defendant Supervisors.

      211.   Even though the Defendant Supervisors and Defendant Correctional

Officers knew that their existing policies and practices were deficient and created a




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substantial risk of harm to prisoners, they failed to take any meaningful corrective

action.

      212.   Instead, the Defendant Supervisors and Defendant Correctional

Officers chose to leave prisoners including Mr. Miller exposed to a continuing risk of

serious harm, exhibiting deliberate indifference to their safety.

                Defendants’ Failure to Supervise and Monitor
                            the Segregation Unit

      213.   The overcrowding, understaffing, and poor supervision and monitoring

at St. Clair did not affect only the H-Dorm.

      214.   At the time of Mr. Miller’s assault, the Defendant Supervisors and

Defendant Correctional Officers including Defendant Fife likewise failed to ensure

adequate supervision and monitoring in St. Clair’s segregation units.

      215.   Due to these Defendants’ inadequate oversight, monitoring, and

security procedures, prisoners at St. Clair knew they could easily engage in

misconduct – such as repeatedly threatening, intimidating, and harassing other

prisoners – and felt emboldened to do so.

      216.   The Defendant Supervisors and Defendant Correctional Officers failed

to take reasonable measures to ensure that prisoners did not engage in threatening

and intimidating behavior towards other prisoners, such as actively monitoring the

segregation units and disciplining instances of misconduct.

      217.   In addition, due to the inadequate oversight of the Defendant

Supervisors and Defendant Correctional Officers, prisoners at St. Clair also knew




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they could easily access housing units to which they were not assigned and felt

emboldened to do so.

      218.   The Defendant Supervisors and Defendant Correctional Officers failed

to take reasonable measures to ensure that prisoners had access to only the housing

unit where they are assigned, including during movement times when prisoners

went to the yard.

      219.   The Defendant Supervisors and Defendant Correctional Officers were

aware that the failure to enforce housing assignments contributed to the high rate

of violence and creates a significant risk of serious harm.

      220.   These Defendants had notice, for example, that the assaults of Micah

Mays, Elliott Blount, Justen Stinson, Derrick White, and Mark Duke were all

facilitated by unauthorized access to housing units.

      221.   The Defendant Supervisors received additional notice in the Cheatam

Complaint of their deficient policies and procedures with regard to prisoner access

to housing units.

      222.   Despite the Defendant Supervisors’ and Defendant Correctional

Officers’ knowledge that the failure to enforce block and cell assignments or monitor

movement times contributed to serious violent incidents, Defendants failed to

implement adequate any corrective action to reduce the substantial risk of serious

harm to prisoners such as Mr. Miller.

      223.   Defendants’ misconduct enabled and emboldened J.D. to repeatedly

enter Mr. Miller’s segregation unit from J.D.’s adjoining segregation unit, without




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facing discipline or even resistance from staff, to threaten Mr. Miller openly and

repeatedly in the aftermath of the rape.

      224.      Likewise, Defendants’ misconduct enabled and emboldened J.D.’s

associates to threaten Mr. Miller, openly and repeatedly, in the aftermath of his

rape by J.D.

                    Defendants’ Failure to Respond Properly to
                     Requests for Housing Assignment Moves

      225.      The Defendant Facility Supervisors and Defendant Classification and

Housing Administrators, including Defendants Davenport and Sanders, also failed

to create and enforce adequate procedures, practices, and policies for responding to

inmate requests to be moved to a new cell assignment based on threats or fear for

their safety.

      226.      Defendants Sanders, Hale, and Ingram, and other St. Clair staff,

rejected prisoner requests to be moved for safety reasons with little to no

investigation to determine the veracity and seriousness of the threat.

      227.      These Defendants failed to conduct the required investigations even

though they had notice that the failure to respond appropriately to such requests

had led to assaults and even deaths in the past.

      228.      The assaults and murders of Tim Duncan, Bradley Gant, and Freddie

James Stallworth, for example, all came after St. Clair staff had ignored requests by

prisoners for new housing assignments based on threats or fear for their safety. See

supra at ¶¶130(f), 130(q), 130(y)).




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      229.   The Equal Justice Initiative brought this matter, too, to the attention

of the Defendant Supervisors, putting them on notice of their deficient policies and

procedures and the resulting substantial risk of harm to prisoners. See Exh. A,

Cheatham Complaint.

      230.   Nonetheless, the Defendant Supervisors took no action to ensure that

prisoners with credible requests for housing or bed assignment changes would be

placed in a safe location while their claims were properly investigated, instead

maintaining their deficient policies and procedures.

      231.   Thus, even though Defendants knowingly housed Mr. Miller in a “blind

spot” in an unsafe, poorly monitored, overcrowded, understaffed dormitory which

they knew to be full of contraband weapons and to house prisoners known to be

violent, they responded with indifference when he asked to be moved to a safer

location.

      232.   Specifically, Defendants Hale and Ingram rejected Mr. Miller’s many

requests to be transferred out of a “blind spot” in H-Dorm without any investigation

into the seriousness of the threat he faced there.

      233.   Likewise, Defendants Davenport, Estes, Evans, Gordy, Northcutt,

Malone, Peters, and certain Defendant Classification and Housing Administrators

failed to even respond to Mr. Miller’s many requests to be moved away from J.D.

while in segregation in the aftermath of the rape.

      234.   Defendants’ misconduct enabled and emboldened J.D. and his

associates to torment Mr. Miller for months after the rape.




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    Defendants’ Failure to Adequately Prevent, Detect, and Respond to
               Prior Instances of Sexual Abuse at St. Clair

      235.   At the time of Mr. Miller’s rape, the Defendant Supervisors were aware

of the high rate of reported incidents of sexual violence at St. Clair, including the

attacks of J.H., D.C., and A.H., described above.

      236.   The Defendant Supervisors likewise knew at the time of Mr. Miller’s

rape that St. Clair’s policies and procedures, including the enabling of weapons

contraband, creation of a culture of violence, understaffing, overcrowding,

inadequate supervision and monitoring, dangerous housing assignments, and the

failure to discipline instances of prisoner or staff misconduct, created an

unnecessary and serious risk of sexual abuse to vulnerable prisoners.

      237.   In 2013, the Equal Justice Initiative issued a report about sexual

violence in ADOC prisons and met with Defendant Thomas to discuss the policies

and practices that contributed to such violence, urging ADOC to take steps to

protect its prisoners from sexual assault.

      238.   The Equal Justice Initiative’s Cheatham Complaint further put the

Defendant Supervisors on notice of the prevalence of sexual assault at St. Clair. See

Exh. A.

      239.   The Defendant Supervisors were also well aware of their obligations to

address sexual abuse at St. Clair to reduce the substantial risk of harm to prisoners

such as Mr. Miller.

      240.   A 2001 study published by Human Rights Watch (“HRW”) reported on

the pervasive problem of inmate-on-inmate rape in prisons throughout the United



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States. See Human Rights Watch, No Escape: Male Rape in U.S. Prisons, April

2001 (available at

http://fl1.findlaw.com/news.findlaw.com/cnn/docs/hrw/hrwmalerape0401.pdf). The

HRW report found that “rape and other sexual abuses occur in prison because

correctional officials . . . do little to stop them from occurring,” including by failing

to supervise and monitor prisoners, eliminate “blind spots,” employ adequate

staffing levels, rapidly and effectively respond to complaints of rape, and properly

classify prisoners. Id. at 14-15.

       241.   In 2003, on the heels of the HRW report, Congress passed the Prison

Rape Elimination Act of 2003, cautioning that “[s]tates that do not take basic steps

to abate prison rape” demonstrate deliberate indifference to prisoners’

constitutional rights. 42 U.S.C. § 15601(13).

       242.   The PREA Act, in turn, established a body known as the National

Prison Rape Elimination Commission (“NPREC”) to investigate prison rape.

NPREC’s 2009 report found that: “Sexual abuse is not an inevitable feature of

incarceration. Leadership matters because corrections administrators can create a

culture within facilities that promotes safety instead of one that tolerates abuse.”

National Prison Rape Elimination Commission Report, June 2009, at 5 (available at

https://www.ncjrs.gov/pdffiles1/226680.pdf). The NPREC report, too, issued findings

on the importance of proper classification, supervision, staffing, and responses to

complaints of rape. Id. at 5-8.




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          243.   PREA also resulted in the 2011 promulgation of the National PREA

Standards, which imposed requirements on correctional facilities in such areas as

supervision and monitoring, screening for risk of victimization and abusiveness,

proper official responses following an inmate report of sexual assault, and

disciplinary sanctions for perpetrators. See 28 C.F.R. § 115.11 - 115.18 (standards

for adult prisons and jails).

          244.   Defendants were familiar with PREA, the PREA National Standards,

their obligation to protect prisoners from sexual assault, and ADOC’s 2014 PREA

policy.

          245.   Nonetheless, the Defendant Supervisors and Defendant Investigators

were deliberately indifferent to the serious risk of harm that sexual violence posed

to prisoners such as Mr. Miller.

          246.   The Defendant Supervisors, including Defendants Dunn, Thomas,

Culliver, Davenport, Estes, Carter, Evans, Peters, and Gordy, failed to take

reasonable steps to protect prisoners such as Mr. Miller from a substantial risk of

sexual assault.

          247.   The Defendant Supervisors continued and maintained policies and

practices that heightened the risk of sexual assault, including inadequate staffing,

supervision, and assignment of bed placements, as described more fully herein.

          248.   The Defendant Supervisors and Defendant Investigators also

encouraged, condoned, and facilitated sexual assault through inadequate responses

to prisoners who reported sexual abuse.




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      249.    The Defendant Supervisors and Defendant Investigators, including

Defendants Carter, Evans, Peters, and Gordy, did not thoroughly investigate sexual

assault complaints and failed to notify victims of the results of I&I investigations.

      250.    The Defendant Supervisors including Defendants Thomas, Dunn,

Culliver, McDonnell, Davenport, and Estes, did not implement any protective

custody at St. Clair or transfer St. Clair prisoners to protective custody at other

ADOC facilities. Instead, they placed prisoners reporting sexual abuse in the

restrictive environment of isolation cells in segregation. This punitive housing

assignment discouraged prisoner reports of sexual abuse and heightened the risk to

prisoners such as Mr. Miller.

      251.    The Defendant Supervisors and Defendant Investigators, including

Defendants Gordy, Carter, Evans, and Peters, likewise did not protect victims from

retaliation, including by providing sight and sound separation between the victims

and their assailants and by protecting victims from gang associates of their

assailants.

      252.    For those prisoners courageous enough to report their rape at St. Clair,

retaliation was nearly certain to follow. As described above, A.H., D.C., and Mr.

Miller all endured retaliation from their assailants and the Defendant Supervisors

– including Defendants Gordy, Carter, Evans, and Peters – took no meaningful

steps to prevent or address this retaliation. See supra at ¶¶99-117, 130(n), 130(x).

      253.    The Defendant Supervisors and Defendant Investigators, including

Defendants Gordy, Carter, Evans, and Peters, also declined to provide sexual




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assault victims with mental health treatment, proper forensic medical

examinations, adequate post-incident medical care, or testing for sexually-

transmitted infections.

      254.   In addition, the Defendant Supervisors and Defendant Classification

and Housing Administrators failed to take reasonable steps to identify known

perpetrators of sexual assault to ensure the safety of prisoners housed with them.

      255.   Critically, the Defendant Supervisors and Defendant Investigators,

including Defendants Gordy, Carter, Evans, and Peters, took no meaningful steps to

ensure that prisoners at risk for either sexual aggression, such as J.D., or sexual

victimization, such as Mr. Miller, were identified as such.

      256.   As set forth above, Mr. Miller’s assailant, J.D., had attempted to

sexually assault J.H. at knifepoint just two months prior to attacking Mr. Miller

and threatened to assault others. Defendants including Defendant Northcutt also

had notice that J.D. had committed repeated disciplinary infractions even prior to

assaulting J.H. Yet the Defendant Supervisors and Defendant Classification and

Housing Administrators took no meaningful steps to protect vulnerable individuals

housed in the H-Dorm, such as Mr. Miller, from violent predators such as J.D.

      257.   At the time of the rape of Mr. Miller, none of the Defendant

Supervisors even tracked instances of sexual assault or required that reports be

created regarding their frequency or participants therein.

      258.   In addition, the Defendant Supervisors permitted correctional officers

at St. Clair to regularly make light of sexual violence without incurring any




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discipline. For example, Sergeant Jacob Hamilton wrote in a social media post on

Facebook words to the effect of: “Surprise sex is the best thing to wake up to. Unless

you’re in prison.” He added: “Funny shit.” Likewise, Officer Adam Shankles posted

an image on social media of a large rectal opening, with words to the effect of: “This

is your butthole in prison – don’t shoplift.”

      259.   Upon information and belief, the Defendant Facility Supervisors failed

to discipline or counsel Sergeant Hamilton or Officer Shankles regarding these

comments, even after they were brought to the Defendant Supervisors’ attention in

the Cheatham litigation and even though the officers had represented themselves as

staff from St. Clair in their social media posts.

      260.   Defendants’ failure to properly prevent or respond to incidents of

sexual assault emboldened perpetrators such as J.D. and heightened the risk of

harm to prisoners such as Mr. Miller.

      261.   Despite the prevalence of sexual assault at St. Clair prior to Mr.

Miller’s rape, and their knowledge of the same, the Defendant Supervisors,

Defendant Classification and Housing Administrators, and Defendant Investigators

failed to implement any corrective action to reduce the risk of harm to prisoners

such as Mr. Miller, exhibiting deliberate indifference to prisoners’ safety.

                              PLAINTIFF’S DAMAGES

      262.   As a result of the Defendants’ wrongful actions, Plaintiff has suffered

severe physical and emotional trauma.




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      263.   Plaintiff was victimized twice: first, as a result of the Defendants’

failure to protect him from serious physical injury and, second, as a result of the

Defendants’ wrongful conduct in the aftermath of his rape.

                                       CLAIMS

                           Count I - 42 U.S.C § 1983
                     Eighth Amendment Failure to Protect
                            Against All Defendants

      264.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      265.   Pursuant to the Eighth Amendment of the United States Constitution,

Plaintiff is entitled to be free from a known and unreasonable risk of serious harm

while in the custody of the State.

      266.   Defendants, acting individually and in conspiracy with other

Defendants, failed to protect Plaintiff.

      267.   Defendants knew of and consciously disregarded the substantial risk

that Plaintiff would be injured while in custody at St. Clair, failing to protect him

from harm.

      268.   Additionally, Defendants knew of and consciously disregarded the

substantial risk that J.D. would harm prisoners like Plaintiff while in custody at St.

Clair, and failed to take any action in response.

      269.   The misconduct described in this Count was undertaken with

deliberate indifference, malice, willfulness, and/or reckless indifference to the rights

of Mr. Miller and others, and was objectively unreasonable.




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      270.   Defendants’ misconduct directly and proximately caused Mr. Miller to

be subjected to an unreasonable risk of serious harm, and caused him to suffer

damages including

pain, suffering, fear, anxiety, rage, and other harmful physical and psychological

harms, both from the brutal rape and its devastating aftermath.

                         Count II - 42 U.S.C § 1983
          Eighth and Fourteenth Amendment State-Created Danger
                          Against All Defendants

      271.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      272.   Pursuant to the Eighth and Fourteenth Amendment of the United

States Constitution, Plaintiff is entitled to be free from a known and unreasonable

risk of serious harm while in the custody of the State, including from a State-

created danger.

      273.   Defendants limited Plaintiff’s ability to care for himself in prison.

      274.   Defendants affirmatively placed Plaintiff in a position of danger he

would not have otherwise faced.

      275.   In violation of Plaintiff’s Eighth and Fourteenth Amendment rights,

Defendants knew of and consciously disregarded the substantial risk that Plaintiff

would be injured while in custody at St. Clair, including from a State-created

danger.

      276.   Defendants, acting individually and in conspiracy with other

Defendants, then failed to take reasonable steps to address the known and

unreasonable risk of serious harm to Plaintiff resulting from the State’s creation.


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      277.     The misconduct described in this Count was undertaken with

deliberate indifference, malice, willfulness, and reckless indifference to the rights of

others, and was objectively unreasonable.

      278.     Defendants’ misconduct directly and proximately caused Mr. Miller to

be subjected to an unreasonable risk of serious harm, and caused him to suffer

damages including

pain, suffering, fear, anxiety, rage, and other harmful physical and psychological

harms, both from the brutal rape and its devastating aftermath.

                         Count III - 42 U.S.C § 1983
     First, Eighth, and Fourteenth Amendment Unlawful Retaliation
   Against Defendants Facility Supervisors, Classification and Housing
  Administrators, Investigators, Fife, and Unknown Correctional Officer

      279.     Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      280.     Defendants, individually and in conspiracy, violated Plaintiff’s First,

Eighth, and Fourteenth Amendments rights by subjecting Plaintiff to retaliation for

exercising his constitutional right to report a personal grievance to prison

authorities.

      281.     Defendants subjected Plaintiff to isolation, segregation, internal

disciplinary procedures, and exposure to his assailant to retaliate against him for

reporting his sexual assault.

      282.     Defendants’ retaliatory conduct would likely deter a person of ordinary

firmness from the exercise of First Amendment rights.




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      283.   A causal connection existed between the Defendants’ retaliatory

actions and the Plaintiff’s protected speech and acts.

      284.   As a direct and proximate result of the Defendants’ retaliatory actions,

Plaintiff suffered damages, including extreme emotional pain and suffering.

                        Count IV - 42 U.S.C § 1983
              Eighth Amendment Deprivation of Health Care
     Against Defendant Facility Supervisors and Unknown Healthcare
                                Providers

      285.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      286.   After being raped, Plaintiff had an objectively serious need for health

care, including treatment for rectal injuries, a forensic examination, testing for

sexually transmitted infections, and mental health care and counseling as a rape

victim.

      287.   As described more fully above, Defendants had notice of Plaintiff’s

health care needs and the seriousness of his health care needs, and yet, they failed

to provide him with necessary health care, in violation of the Eighth Amendment to

the United States Constitution.

      288.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally with malice, willfulness, and/or deliberate

indifference to the rights of Mr. Miller.

      289.   As a result of Defendants’ unjustified and unconstitutional conduct,

Plaintiff suffered damages, including physical and emotional harm.




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                                 Count V - 42 U.S.C § 1983
                                    Civil Conspiracy
                                  Against All Defendants

       290.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       291.   As described more fully in the preceding paragraphs, the Defendants

and other co-conspirators not yet known to Plaintiff acted in concert with one

another to accomplish an unlawful purpose by unlawful means.

       292.   The Defendants and other co-conspirators not yet known to Plaintiff

reached an agreement among themselves to deprive Plaintiff of his right to be free

from unreasonable harm, subject him to unlawful retaliation, and fail to intervene

to prevent harm from occurring to Plaintiff, in violation of Plaintiff’s constitutional

rights, in the manner described above.

       293.   In furtherance of this conspiracy, and as set forth in the complaint

above, each of the co-conspirators committed overt acts and was an otherwise willful

participant in joint activity.

       294.   As a direct and proximate result of the illicit agreement referenced

above, Plaintiff’s rights were violated and he suffered damages.

                                 Count VI - 42 U.S.C § 1983
                                   Failure to Intervene
                                  Against All Defendants

       295.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.




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      296.    One or more Defendants knew that Plaintiff’s rights were being

violated, and had the realistic opportunity to intervene to prevent or stop the

constitutional misconduct alleged above, but failed to do so.

      297.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally and with willful indifference to Plaintiff’s

constitutional rights.

      298.    As a result of the Defendants’ failure to intervene, Plaintiff’s

constitutional rights were violated and he suffered damages.

                             Count VII – State Law
                   Intentional Infliction of Emotional Distress
                             Against All Defendants

      299.    Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      300.    The acts of Defendants as set forth above were both extreme and

outrageous.

      301.    Defendants intended to cause, or acted in reckless disregard of the

probability that they would cause, severe emotional distress to Plaintiff.

      302.    The misconduct described above was undertaken with malice,

willfulness, and reckless indifference to Plaintiff’s rights.

      303.    As a direct and proximate result of the misconduct described above,

Plaintiff’s rights were violated and he suffered damages.




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                                  Count VIII – State Law
                                       Negligence
                                  Against All Defendants

       304.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       305.   Defendants had a duty of care to Plaintiff.

       306.   Defendants breached that duty of care.

       307.   In doing so, Defendants acted willfully, maliciously, fraudulently, in

bad faith, beyond their authority, or under a mistaken interpretation of the law.

       308.   Defendants’ breach of their duty of care to Plaintiff directly and

proximately caused Plaintiff to suffer damages, including physical and emotional

pain and suffering.

                                   Count IX – State Law
                                     Civil Conspiracy
                                  Against All Defendants

       309.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       310.   As described more fully in the preceding paragraphs, the Defendants

and other co-conspirators not yet known to Plaintiff acted in concert with one

another to accomplish an unlawful purpose by unlawful means.

       311.   In furtherance of a conspiracy to deprive Plaintiff of his right to be free

from unreasonable harm and retaliation while in State custody, the Defendants and

other unknown coconspirators committed overt acts and were otherwise willful

participants in joint activity.




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      312.     The misconduct described above was undertaken with malice,

willfulness, and reckless indifference to Plaintiff’s rights.

      313.     As a direct and proximate result of the illicit agreement referenced

above, Plaintiff’s rights were violated and he suffered damages.

                            Count X – State Law Claim
                                 Indemnification
                        Against Defendant State of Alabama

      314.      Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      315.      Defendants were all state employees, acting at all relevant times

within the scope of their employment, in committing the misconduct described

herein.

      316.      Alabama law including Alabama Code § 36-1-6.1 requires the State to

pay any judgment against each of the individual Defendants.

          WHEREFORE, Plaintiff John Miller respectfully requests that this Court

enter a judgment in his favor and against all Defendants, awarding compensatory

damages, punitive damages, and attorneys’ fees and costs against each Defendant,

and any other relief this Court deems just and appropriate.

                                   JURY DEMAND

      Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.




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                                    Respectfully submitted,

                                    JOHN MILLER


                                    BY: /s/ Ruth Z. Brown
                                     One of Plaintiff’s Attorneys



Russell Ainsworth (pro hac vice)
Ruth Z. Brown (pro hac vice)
Theresa Kleinhaus (pro hac vice)
Sarah Grady (pro hac vice)
LOEVY & LOEVY
311 N. Aberdeen, 3rd Floor
Chicago, IL 60607

Henry F. Sherrod III
Local Counsel
119 South Court Street
Florence, AL 35630
Phone: (256) 764-4141




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